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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

              Before the Honorable Alan C. Torgerson, United States Magistrate Judge

                                           Clerk’s Minutes

CASE TITLE: Rio Real Estate Inv. Opp., LLC v. Tesla DATE: September 18, 2012

CASE NO.:     12cv758 - JAP/ACT

COURTROOM CLERK:               N/A                       REPORTER:         N/A

PROCEEDINGS COMMENCED:                  1:30 p.m.        COURT IN RECESS:

PLAINTIFF’S ATTORNEY PRESENT:                            DEFENDANT’S ATTORNEY PRESENT:

LeeAnn Werbelow                                          Andrew G. Schultz


TYPE OF PROCEEDING:            Rule 16 Initial Scheduling Conference

COURT’S RULING(S):

I.     The Court set the following case management deadlines:

       a.     This case is assigned to a standard track classification. 150 Days

       b.     Discovery is to be completed no later than: Friday, February 15, 2013

       c.     Motions related to discovery filed and served no later than: Monday, February 25, 2013

       d.     Plaintiff must identify to all parties in writing any expert witness to be used by Plaintiff at
              trial and provide expert reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) no later than:
              Monday, November 19, 2012

              All other parties must identify in writing any expert witness to be used by such parties at
              trial and must provide expert reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) no later than:
              Wednesday, December 19, 2012

       e:     Pre-Trial Motions other than discovery motions (this includes motions requesting a
              Daubert hearing) are to be filed no later than: Thursday, April 4, 2013

       f.     Pre-Trial Order from Plaintiff to Defendant no later than: Thursday, May 9, 2013

              Pre-Trial Order from Defendant to Court no later than: Monday, May 20, 2013

       g.     Deadline for Plaintiff to amend pleadings or add additional parties:
              Friday, October 19, 2012.
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        h.      Deadline for Defendant to amend pleadings or add additional parties:
                Monday, November 19, 2012

        i.      None of the parties anticipate adding additional parties or amending their pleadings
                at this time.

II.     Rule 16 Settlement Conference

        The Court discussed the status of any settlement discussions to date.

        a.      The Court will set a Settlement Conference on Thursday, March 7, 2013, at 9:30 a.m.
                in Albuquerque, New Mexico.

        b.      A Settlement Conference will be scheduled following the completion of discovery or
                sooner if requested by the parties.

III.    The parties anticipate that a 3 day non-jury trial will be necessary for this case.

        THE COURT MADE THE RULINGS DESCRIBED ABOVE. AN ORDER CONSISTENT
        WITH THE COURT’S RULINGS WILL BE FILED WITH THE CLERK’S OFFICE

IV.     Discovery and Motion Practice:

        The Court asked whether Rule 26 initial disclosures have been made:

        a.      Plaintiff:       [ x ] Yes     [   ] No. If no, must be made by: Supplements regarding
                                                                                 claims for damages to
                                                                                 be made by Monday,
                                                                                 October 15, 2012.

        b.      Defendant:       [ x ] Yes     [   ] No. If no, must be made by:

        The Court asked the parties if they anticipated any discovery disputes or issues regarding
        electronic discovery.

        a.      The Court explained that if the parties encounter a discovery dispute and are
                unable to resolve it themselves, they may contact the Court to schedule an
                informal telephonic conference or file a written motion with the Court.

        The Court asked the parties if they anticipate filing any pretrial motions.

        The Court asked the parties about the experts they plan to use and the need for a Daubert hearing.

        The Court will conduct a telephone Rule 16 discovery status conference on Monday, December
17, 2012 at 2:30 p.m.. The parties are to call chambers on the “meet-me-conference line” at (505) 348-
2688.

V.      ADDITIONAL MATTERS:

        There was nothing further and the hearing was adjourned.
